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UNITED STATES DISTRICT COURT

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ORDER OF PRODUCTION
No= l:O3-cr-lOlO3-01~T

 

USA v- J ames Schlitter
AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, FCI Forrest City, 1400 Dale Bumpers Road,
Forrest City, AR 72335

YOU ARE HEREBY COMMANDED to have the person of JAMES SCHLITTER, Inmate
# 18738-076, by you restrained of his/her liberty, as it is said, by Whatsoever names detained,
together with the day and cause of his being taken and detained, before the Honorable J ames D.
Todd, U. S. District Court Judge, for the Westem District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 9:00 a.m. on the 21 st day of October, 2005, then and there
to do, submit to, and receive whatsoever the said Judge shall then and there determine in that behalf;
and have you then and there this writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

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JAMES .TODD
UNTTE STATES DISTRICT IUDGE

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 86 in
case 1:03-CR-10103 vvas distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

J Patten Brovvn

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Honorable J ames Todd
US DISTRICT COURT

